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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :      Case No:
                                             :
              v.                             :
                                             :      VIOLATIONS:
THOMAS EDWARD CALDWELL,                      :
                                             :      18 U.S.C. § 371
DONOVAN RAY CROWL, and                       :      (Conspiracy)
                                             :
JESSICA MARIE WATKINS,                       :      18 U.S.C. § 372
                                             :      (Conspiracy to Impede or Injure Officer)
              Defendants.                    :
                                             :      18 U.S.C. § 1361
                                             :      (Destruction of Government Property)
                                             :
                                             :      18 U.S.C. § 1512(c)(2)
                                             :      (Obstruction of an Official Proceeding)
                                             :
                                             :      18 U.S.C. § 1752(a)
                                             :      (Restricted Building or Grounds)
                                             :
                                             :      40 U.S.C. § 5104(e)(2)
                                             :      (Violent Entry or Disorderly Conduct)
                                             :

        AFFIDAVIT IN SUPPORT OF AMENDED CRIMINAL COMPLAINT

       I, Michael M. Palian Jr., being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.     This Affidavit is submitted in support of an Amended Criminal Complaint charging

THOMAS EDWARD CALDWELL, DONOVAN RAY CROWL, and JESSICA MARIE

WATKINS with violations of 18 U.S.C. §§ 371, 372, 1361, 1512(c)(2), 1752(a), and 40 U.S.C. §

5104(e)(2) (hereinafter, “Subject Offenses”). This Amended Criminal Complaint is intended to

amend, or supersede, the Criminal Complaints filed in each individual’s case on January 16-17,

2021. This Affidavit sets forth additional evidence establishing probable cause that CALDWELL,

CROWL, and WATKINS conspired together, and with others known and unknown, to obstruct the
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United States Congress’ affirmation of the Electoral College vote regarding the results of the 2020

U.S. Presidential Election, and that they committed other related federal crimes in furtherance of

that purpose, as set forth below.

       2.        I respectfully submit that this Affidavit establishes probable cause to believe that

CALDWELL, CROWL, and WATKINS:

            a.      Knowingly and willfully conspired together and with others whose identities are
                    known and unknown to law enforcement at this time to commit an offense
                    against the United States, in violation of 18 U.S.C. § 371, that is, to corruptly
                    obstruct, influence, or impede an official proceeding in violation of 18 U.S.C.
                    § 1512(c)(2); and

            b.      Conspired together and with others whose identities are known and unknown to
                    law enforcement at this time to prevent, by force, intimidation, or threat, officers
                    of the United States from discharging their duties; to injure them on account of
                    the lawful discharge of the duties of their offices; and to injure their property so
                    as to interrupt, hinder, or impede them in the discharge of their official duties, in
                    violation of 18 U.S.C. § 372; and

            c.      Attempted to willfully injure or commit depredation against any property of the
                    United States, in violation of 18 U.S.C. § 1361; and

            d.      Corruptly obstructed, influenced, and impeded an official proceeding, in
                    violation of 18 U.S.C. § 1512(c)(2); and

            e.      Entered and remained in any restricted building and grounds without lawful
                    authority, and knowingly, and with intent to impede or disrupt the orderly
                    conduct of Government business and official functions, engaged in disorderly
                    and disruptive conduct, in violation of 18 U.S.C. § 1752(a); and

            f.      Willfully and knowingly engaged in disorderly and disruptive conduct, at any
                    place in the Grounds and in any of the Capitol Buildings with the intent to
                    impede, disrupt, and disturb the orderly conduct of a session of Congress or
                    either House of Congress, and the orderly conduct in that building of any
                    deliberations of either House of Congress, in violation of 40 U.S.C.
                    § 5104(e)(2).

                                    BACKGROUND OF AFFIANT

       3.        I am a Special Agent with the FBI and have been so employed since February 2003.

As a Special Agent with the FBI, I am empowered by law to conduct investigations, make arrests,



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and execute and serve search and arrest warrants for offenses enumerated in Title 21 and Title 18

of the United States Code. I have a Ph.D in bio-organic chemistry, and have also received training

and gained experience in a variety of criminal laws and procedures, including those involving drug

distribution, white collar crime and crimes of violence. Through my training, education and

experience, I have become familiar with the manner in which criminal activity is carried out, and

the efforts of persons involved in such activity to avoid detection by law enforcement. In addition

to my regular duties, I am currently tasked with investigating criminal activity that occurred in and

around the U.S. Capitol grounds on January 6, 2021.

       4.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause, it does not contain every fact known by me or the United States. The dates listed

in this Affidavit should be read as “on or about” dates.

                                         BACKGROUND

                     The Incursion at the U.S. Capitol on January 6, 2021

       5.      The U.S. Capitol, which is located in the District of Columbia, is secured 24 hours

a day by U.S. Capitol Police. The Capitol Police maintain permanent and temporary barriers to

restrict access to the Capitol exterior, and only authorized individuals with appropriate

identification are allowed inside the Capitol building.

       6.      On January 6, 2021, at approximately 1:00 p.m., a Joint Session of the U.S. House

of Representatives and the U.S. Senate convened in the Capitol building to affirm the Electoral

College vote in the 2020 Presidential Election. U.S. Vice President Michael R. Pence, in his




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constitutional duty as President of the Senate, presided over the Joint Session. The Capitol’s

exterior plaza was closed to the public.

       7.      At approximately 1:30 p.m., the House and Senate adjourned to separate chambers

to resolve an objection. Vice President Pence adjourned to the Senate to preside over that chamber’s

proceeding. As the House and Senate proceedings ensued inside the Capitol, certain individuals in

the crowd forced their way through, up, and over Capitol Police barricades intended to protect the

building’s exterior. The crowd thereafter advanced to the building’s exterior façade. Members of

the Capitol Police attempted to maintain order and stop the crowd from entering the Capitol

building, to which the doors and windows were locked or otherwise secured. Nonetheless, shortly

after 2:00 p.m., crowd members forced entry into the Capitol building, including by breaking

windows and assaulting Capitol Police officers, while others in the crowd encouraged and assisted

those acts. The crowd was not lawfully authorized to enter or remain in the Capitol building, and

no crowd member submitted to security screenings or weapons checks by Capitol Police or other

authorized security officials.

       8.      Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate,

including Vice President Pence, were evacuated from the chambers. The Joint Session and all

proceedings of the U.S. Congress were halted whileCapitol Police and other law enforcement

worked to restore order and clear the Capitol of the unlawful occupants.

       9.      At approximately 8:00 p.m., approximately six hours after the crowd breached the

Capitol, the Joint Session resumed, again with Vice President Pence presiding. The Vice President

remained in the U.S. Capitol from the time he was evacuated from the Senate chamber until the

time the Joint Session resumed.




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       10.     In the course of these events, approximately 81 members of the U.S. Capitol Police

and 58 members of the Metropolitan Police Department were assaulted. Moreover, according to

the Architect of the Capitol, the office responsible for the Capitol’s operations and care, the building

and grounds suffered more than $1,000 in damage. The damage included broken windows, doors,

and light fixtures; graffiti; and residue of various pepper sprays, tear gas, and fire extinguishers

deployed by members of the crowd and by Capitol Police officers attempting to restore order.

       11.     National news coverage of the aforementioned events featured video footage, which

appeared to be captured on the mobile devices of persons present on the scene and which depicted

evidence of numerous violations of local and federal law, including violent attacks on law

enforcement officers, vandalism, and significant destruction of the U.S. Capitol building.

                                         The Oath Keepers

       12.     Law enforcement and news media organizations observed that members of a

paramilitary organization known as the Oath Keepers were among the individuals and groups who

forcibly entered the U.S. Capitol on January 6, 2021. The Oath Keepers are a large but loosely

organized collection of militia who believe that the federal government has been coopted by a

shadowy conspiracy that is trying to strip American citizens of their rights. Though the Oath

Keepers will accept anyone as members, what differentiates them from other anti-government

groups is their explicit focus on recruiting current and former military, law enforcement and first

responder personnel. The organization’s name alludes to the oath sworn by members of the military

and police to defend the Constitution “from all enemies, foreign and domestic.”

                    Thomas Caldwell, Donovan Crowl, and Jessica Watkins

       13.     THOMAS CALDWELL is a 65-year-old resident of Clarke County, Virginia.

CALDWELL is believed to have a leadership role within the Oath Keepers. As described more



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fully herein, CALDWELL planned with DONOVAN CROWL, JESSICA WATKINS, and others

known and unknown, to forcibly storm the U.S. Capitol.

       14.      DONOVAN CROWL is a 50-year-old resident of Champaign County, Ohio.

CROWL is a member of the Ohio State Regular Militia. The Ohio State Regular Militia is a local

militia organization, many of whose members form a dues-paying subset of the Oath Keepers. As

described more fully herein, CROWL planned with CALDWELL, JESSICA WATKINS, and

others known and unknown, to forcibly storm the U.S. Capitol.

       15.      JESSICA WATKINS is a 38-year-old resident of Champaign County, Ohio. At the

top of WATKINS’ social media account page on Parler, a social networking service, WATKINS

states that she is “C.O. [Commanding Officer] of the Ohio State Regular Militia.” As described

more fully herein, WATKINS planned with CALDWELL, CROWL, and others both known and

unknown, to forcibly storm the U.S. Capitol on January 6, 2021.

               STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       16.      As described below, evidence uncovered in the course of the investigation

demonstrates that not only did CALDWELL, CROWL, WATKINS, and others conspire to forcibly

storm the U.S. Capitol on January 6, 2021—they communicated with one another in advance of the

incursion and planned their attack.

       17.      I have reviewed footage of the January 6, 2021, incursion of the U.S. Capitol,

including a video that, at the approximate 3-minute-and-8-second mark, shows eight to ten

individuals in paramilitary equipment aggressively approaching an entrance to the Capitol

building. 1 These individuals, who are wearing helmets, reinforced vests, and clothing with Oath



       1
         https://www.youtube.com/watch?v=b76KfHB0QO8&feature=youtu.be (last accessed
January 14, 2021).


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Keeper paraphernalia, can be seen moving in an organized and practiced fashion and forcing their

way to the front of the crowd gathered around a door to the U.S. Capitol.

                                           PICTURE 1




       18.     A close-up view of the badges on the vest of one of these individuals, seen just under

the Oath Keepers emblem on his shirt, displays the Oath Keepers motto, “Not On Our Watch.”

                                           PICTURE 2




       19.     Based on the foregoing observations of the video, and information gained in the

course of my investigation, I believe the organized group of individuals marching to the door of the

U.S. Capitol in the video above are members of the Oath Keepers.

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                                          Jessica Watkins

       20.       In the video referenced above, at the approximate 3-hour-and-20-second mark, the

footage shows the uncovered face of an individual in the group of Oath Keepers.

                                            PICTURE 3




       21.       I have identified this individual to be JESSICA WATKINS by comparing the

footage in the video above to WATKINS’ DMV photograph and other photographs of WATKINS.

       22.       In addition, in various social media posts, WATKINS has confirmed that on January

6, 2021, she entered the U.S. Capitol by force.

       23.       For instance, on January 6, 2021, Watkins posted to Parler a photograph of herself

in the same Oath Keepers uniform in which she appears in Picture 3, alongside the statement: “Me

before forcing entry into the Capitol Building. #stopthesteal 2 #stormthecapitol #oathkeepers

#ohiomilitia.”


       2
         I am aware from public reporting after the 2020 Presidential Election that the social media
hashtag #stopthesteal was used by people who believed, essentially, that the election was influenced
by fraud, and who wanted to stop the Electoral College results from being certified by the Congress.

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                                        PICTURE 4




       24.    Also on Parler, on January 6, 2021, WATKINS posted another video from that day

and wrote, “Yeah. We stormed the Capitol today. Teargassed, the whole, 9. Pushed our way into

the Rotunda. Made it into the Senate even. The news is lying (even Fox) about the Historical

Events we created today.”




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                                         PICTURE 5




       25.     In another Parler post, WATKINS responded to a comment challenging whether she

actually forced entry by confirming, “Nope. Forced. Like Rugby. We entered through the back

door of the Capitol.”




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                                           PICTURE 6




       26.     Furthermore, WATKINS gave a newspaper interview in which she further

confirmed her membership in the Oath Keepers and the fact that she had participated in the

incursion of the U.S. Capitol on January 6, and suggested that she had clashed with U.S. Capitol

Police. On January 13, 2021, the Ohio Capital Journal published an article entitled, Ohio Bartender

and Her ‘Militia’ Drove to D.C. to Join the Capitol Breach. 3 WATKINS is quoted in the article as

saying, “To me, it was the most beautiful thing I ever saw until we started hearing glass smash.

That’s when we knew things had gotten really bad.” WATKINS also states, “We never smashed



       3
          https://www.citybeat.com/news/blog/21147932/ohio-bartender-and-her-militia-drove-to-
dc-to-join-the-capitol-breach (last accessed January 16, 2021).


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anything, stole anything, burned anything, and truthfully we were very respectful with Capitol Hill

PD until they attacked us. Then we stood our ground and drew the line.”

       27.        In addition, the FBI has obtained an audio recording of Zello 4 communications

between WATKINS and other suspected Oath Keepers during the Capitol incursion. During the

recorded transmission—believed to be among WATKINS and other Oath Keepers on a Zello

channel called “Stop the Steal J6”—WATKINS had the following exchanges (among others) which

are approximately transcribed:

             a.      At the approximate 5-minute mark, the voice believed to be WATKINS reports,
                     “We have a good group. We have about 30-40 of us. We are sticking together
                     and sticking to the plan.” An unknown male responds, “We’ll see you soon,
                     Jess. Airborne.”

             b.      At the approximate 7-minute-and-44-second mark, an unknown male states,
                     “You are executing citizen’s arrest. Arrest this assembly, we have probable
                     cause for acts of treason, election fraud.” The voice believed to be WATKINS
                     responds, “We are in the mezzanine. We are in the main dome right now. We
                     are rocking it. They are throwing grenades, they are fricking shooting people
                     with paint balls. But we are in here.” An unknown male responds to WATKINS,
                     telling her to be safe, and states, “Get it, Jess. Do your fucking thing. This is
                     what we fucking [unintelligible] up for. Everything we fucking trained for.”

                                           Donovan Crowl

       28.        In a Parler post on January 6, 2021, WATKINS shared a picture of an individual in

paramilitary gear, wearing an Oath Keeper patch on his arm, and wrote, “One of my guys at the

Stop the Steal Rally today. #stopthesteal #stormthecapitol #oathkeepers #ohiomilitia.” I have

confirmed that the individual whom WATKINS identified “one of my guys” in the picture is

DONOVAN CROWL, by comparing pictures of him at the U.S. Capitol on January 6, 2021, to

DMV records and the Ohio State Regular Militia Parler page.


       4
         Zello is a push-to-talk app that operates like a walkie-talkie on a cellular telephone. The
Zello app may, depending on a user’s settings, store recordings and other information about the
user’s communications on the user’s phone.


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                                           PICTURE 7




       29.     On January 14, 2021, the New Yorker magazine published an interview with

CROWL entitled, A Former Marine Stormed the Capitol as Part of a Far-Right Militia. 5 The

article notes that CROWL was photographed in the Capitol Rotunda on January 6 and references

him as the individual depicted in the video screenshot in Picture 8 below.




       5
            https://www.newyorker.com/news/news-desk/a-former-marine-stormed-the-capitol-as-
part-of-a-far-right-militia (last accessed January 16, 2021).


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                                         PICTURE 8




       30.    I have also reviewed photographs of CROWL taken inside the Capitol Rotunda on

January 6, 2021, including one from the New Yorker article that identifies CROWL as the

individual wearing dark glasses with other Oath Keepers. In this photograph, depicted below in

Picture 9, CROWL (red circle) is wearing a green reinforced vest with a label reading “Trapper”

partially visible (yellow circle). I note that, in Picture 7 above, from WATKINS’ Parler page,

CROWL is wearing the same “Trapper” patch.




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                                            PICTURE 9




       31.     Furthermore, in his interview with the New Yorker, CROWL identified himself as

a member of both the Oath Keepers and the Ohio State Regular Militia, and admitted that he joined

these groups in the January 6 Capitol incursion. CROWL—who admitted to the reporter that he

had been drinking before the interview—stated that he entered the U.S. Capitol on January 6,

claiming he had gone to Washington, D.C., to “do security” for “V.I.P.s” whom he declined to

name. CROWL also stated that his intentions had been peaceful, that he had never been violent,

and that “we protected the fucking Capitol Hill police.” He declined to substantiate the claim during

the interview. CROWL at the same time admitted during this interview that he “expelled three

fucking people” whom he said had been injured. He further elaborated about “patriots [who]

dragged this fucking maggot off the wall and started beating his ass.”




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       32.       Finally, I have viewed a video from the collection of videos amassed by ProPublica. 6

One video depicts WATKINS and CROWL together in the Capitol Rotunda. CROWL says, “We

took on the Capitol! We overran the Capitol!” WATKINS exclaims, “We’re in the fucking Capitol,

CROWL! WATKINS and CROWL turn the camera around for a video selfie as they do so.

                                             PICTURE 10




       6
           https://projects.propublica.org/parler-capitol-videos/ (last accessed January 19, 2021).


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                                       Thomas Caldwell

       33.     CALDWELL also participated in the incursion of the U.S. Capitol on January 6,

2021, as shown by records collected from his Facebook Account.

       34.    On January 6, 2021, at approximately 7:47 p.m., CALDWELL transmitted a

Facebook message of a video that appears to have been taken near the U.S. Capitol. A screenshot

from the video is below:

                                          PICTURE 11




       35.    Approximately two minutes later, at 7:49 p.m., CALDWELL sent a Facebook

message stating, “Us storming the castle. Please share. Sharon was right with me! I am such an

instigator! She was ready for it man! Didn’t even mind the tear gas.” Two minutes later,

CALDWELL sent a message noting, “Proud boys scuffled with cops and drove them inside to hide.

Breached the doors. One guy made it all the way to the house floor, another to Pelosi’s office. A

good time.” Less than a minute later, he sent a message directing that, “We need to do this at the

local level. Lets storm the capitol in Ohio. Tell me when!”

       36.    Furthermore, a cell site analysis reveals that a cell phone registered to Sharon

Caldwell—CALDWELL’s spouse, whom CALDWELL appears to reference in the Facebook

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message above—was present in the vicinity of the Capitol on January 6, 2021, during the time of

the incursion

       37.      On January 9, 2021, three days after the Capitol incursion, CALDWELL sent a

Facebook message in which he shared a link to a YouTube video and wrote that he appeared at the

2:24 mark, “before the assault.” I have viewed the video, 7 and in it, CALDWELL motions to the

Capitol building and shouts, “Every single [expletive beeped in original] in there is a traitor. Every

single one!”

                                           PICTURE 12




                                     Subsequent Investigation

       38.      On January 16, 2021, the government obtained a warrant for WATKINS’ and

CROWL’s arrests from the District Court for the District of Columbia, and a warrant to search

WATKINS’ home in Woodstock, Ohio, from the District Court for the Southern District of Ohio.


       7
           https://www.youtube.com/watch?v=L5hksM_R59M (last accessed January 18, 2021).


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       43.     On January 17, 2021, FBI agents in Ohio attempted to execute both warrants in Ohio.

Agents were unable to locate WATKINS, but initiated the search of her home. One record that

agents recovered appears to be directions for making explosives, authored by “The Jolly Roger.” I

know that WATKINS operates a bar known as the Jolly Roger, and is believed to operate a

Facebook account under that same user name.

                                          PICTURE 13




       44.     Law-enforcement also located within WATKINS’ home protective and battle gear

of the sort worn during the offenses of January 6, 2021 (to include a camouflage hat and jackets; a

backpack with medical/PPE supplies; a black tactical kit with medical supplies, radio, mini drone,

and pepper spray; a bag containing a helmet and respirators; and a bag containing a helmet, radio,




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and belt); cellular telephones; numerous firearms; a paintball gun with rubber-steel balls and a

cylinder; pool cues cut down to baton size; and zip/cable ties, among other items).

       45.        During a search on January 17, 2021, of a location where CROWL was said to have

occasionally stayed, law enforcement recovered a green reinforced vest. Affixed to the vest was a

label with the name “Trapper,” which, as described above, was the label visible on video and in

photos that captured CROWL during the incursion of the Capitol.

       46.        While searching WATKINS’ home, agents encountered an associate of

WATKINS’, Witness-1 (W-1). W-1 provided the following information:

             a.      Although WATKINS returned to Ohio after the January 6, 2021, incursion, she
                     subsequently left Ohio on or about January 14 to stay with a friend and fellow
                     Oath Keeper whom W-1 knew as “Tom” or “Commander Tom.” As described
                     below, your affiant believes this individual is CALDWELL.

             b.      WATKINS provided W-1 with instructions on how to contact her, including by
                     providing a phone number with a Virginia area code. A database check for this
                     phone number revealed that it is a phone registered to CALDWELL’s spouse—
                     the same phone that a cell site analysis reveals was present in the vicinity of the
                     Capitol on January 6, 2021, during the time of the incursion.

       47.        On January 17, 2021, WATKINS and CROWL were arrested together in Ohio by

the FBI. According to a police officer at the Urbana Police Department, where they turned

themselves in, WATKINS and CROWL stated that they had been in Virginia and had driven eight

hours back to Ohio when they learned the FBI as looking for them. I have also reviewed Facebook

messages that WATKINS and CROWL exchanged on January 14, 2021, in which they discussed

staying at CALDWELL’s home in Virginia, and CROWL indicated he would discuss this option

with CALDWELL. Based on the information above, I believe that between January 14 and 17,

2021, WATKINS, CROWL, and CALDWELL were together at CALDWELL’s residence in

Berryville, Virginia.




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                        Caldwell, Crowl, and Watkins’ Facebook Messages

       48.        Communications that your affiant has reviewed from CALDWELL and CROWL’s

Facebook accounts leading up to the January 6, 2021, show that CALDWELL, CROWL, and

WATKINS planned and organized Oath Keeper activities to challenge the election results.

             a.      On December 24, 2021, CALDWELL responded to a Facebook post by writing,
                     “Driving in with my wife from Berryville VA but am soending night before at
                     Comfort Inn Arlington/Ballston on Glebe Road. Meeting up with Oathkeepers
                     from North Carolina and Patriot group from the Shenandoah Valley.”

             b.      On December 30, 2021, CALDWELL wrote: “THIS IS OUR CALL TO
                     ACTION, FREINDS! SEE YOU ON THE 6TH IN WASHINGTON, D.C.
                     ALONG WITH 2 MILLION OTHER LIKE-MINDED PATRIOTS.”

             c.      On December 31, 2021, CALDWELL replied to a Facebook comment, writing,
                     “It begins for real Jan 5 and 6 on Washington D.C. when we mobilize in the
                     streets. Let them try to certify some crud on capitol hill with a million or more
                     patriots in the streets. This kettle is set to boil…”

             d.      On January 1, 2021, CALDWELL replied to a Facebook comment, writing, “I
                     accept that assignment! I swore to support and defend the Constitution of the
                     United States against all enemies foreign and domestic. I did the former, I have
                     done the latter peacefully but they have morphed into pure evil even blatantly
                     rigging an election and paying off the political caste. We must smite them now
                     and drive them down.”

             e.      Also on January 1, 2021, CALDWELL sent a Facebook message to CROWL
                     recommending a room at the Comfort Inn Ballston for January 5-7, 2021.
                     CALDWELL wrote: “This is a good location and would allow us to hunt at
                     night if we wanted to. I don’t know if Stewie 8 has even gotten out his call to
                     arms but its a little friggin late. This is one we are doing on our own. We will
                     link up with the north carolina crew.” The investigation revealed that an
                     individual who presented herself as “Jessica Wagkins”, whom I believe to be
                     WATKINS, rented a room at the Comfort Inn Ballston from January 5-7, 2021.

             f.      On January 1, 2021, CROWL sent CALDWELL a Facebook message stating,
                     “Happy New year, to you Sir!! Guess I’ll be seeing you soon. Will probably
                     call you tomorrow…mainly because…I like to know wtf plan is. You are the
                     man Commander.”


       8
        Based on the context of this conversation, I believe that the reference to “Stewie” is to
Elmer Stewart Rhodes, who is known as the leader of the Oath Keepers.


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           g.     On January 2, 2021, CALDWELL wrote to CROWL, “Check with Cap. I
                  recommended the following hotel to her which STILL has rooms
                  (unbelieveble).” CALDWELL then sent a link to the Comfort Inn Ballston, the
                  same hotel that he recommended to others on January 1. CALDWELL
                  continued, “Sharon and I are setting up shop there. Paul has a room and is
                  bringing someone. He will be the quick reaction force. Its going to be cold. We
                  need a place to spend the night before minimum. Stewie never contacted me so
                  Sharon and I are going our way. I will probably do pre-strike on the 5th though
                  there are things going on that day. Maybe can do some night hunting.
                  Oathkeeper friends from North Carolina are taking commercial buses up early
                  in the morning on the 6th and back same night. Paul will have the goodies in
                  case things go bad and we need to get heavy.”

           h.     On January 3, 2021, WATKINS sent CROWL a Facebook message stating,
                  “Running a bit behind. I’ll txt when I’m back at the bar. Getting supplies for
                  DC.”

           i.     On January 4, 2021, CROWL wrote a message that stated, “Sorry Brother, been
                  busy planning for this week. Lemme give you a holler later tonight. We are
                  enroute to DC right now for a few days on an Oathkeepers Op.”

           j.     On January 5, 2021, an individual wrote CROWL a Facebook message that
                  stated: “One more thing. Keep eyes on people with Red MAGA hats worn
                  backwards. Saw a report that they were going to infiltrate crowd tomorrow.”
                  CROWL replied: “Thanks Brother, but we are WAY ahead on that. We have
                  infiltrators in Their ranks. We are doing the W.H. in the am and early afternoon,
                  rest up at the Hotel, then headed back out tomorrow night ‘tifa’ hunt’in. We
                  expect good hunting.” 9

           k.     On January 6, 2021, while at the Capitol, CALDWELL received the following
                  Facebook message: “All members are in the tunnels under capital seal them in .
                  Turn on gas”. When CALDWELL posted a Facebook message that read,
                  “Inside,” he received the following messages, among others: “Tom take that
                  bitch over”; “Tom all legislators are down in the Tunnels 3floors down”; “Do
                  like we had to do when I was in the core start tearing oit florrs go from top to
                  bottom”; and “Go through back house chamber doors facing N left down hallway
                  down steps.”

           l.     On January 7, 2021, the day after the incursion, CALDWELL wrote to CROWL,
                  “Did you like the pictures of us storming the castle? I tried calling Cap a lot but


       9
         I believe that CALDWELL’s use of the word “tifa” is a reference to antifa. According to
the Anti-Defamation league, antifa is a loosely organized anti-fascist protest movement that, in
some instances, has engaged in violent confrontations. See https://www.adl.org/antifa (last
accessed January 19, 2021).


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                     it was probably hard for het to hear the phone ring.” CROWL responded,
                     “Loved it.”

             m.      On January 8, 2021, CROWL sent CALDWELL a message asking for a video.
                     CALDWELL sent it, and CROWL wrote, “Thank you Sir. Love the hell outta
                     you Tom.” CALDWELL responded, “You too, my dear friend! We stormed
                     the gates of corruption together (although on opposite sides of the building) so
                     between that and our first meeting and getting to know you since I can say we
                     will always be brothers!”

                                  CONCLUSIONS OF AFFIANT

       49.        Based on the foregoing, I submit that there is probable cause to believe that

THOMAS EDWARD CALDWELL, DONOVAN RAY CROWL, and JESSICA MARIE

WATKINS committed violations of 18 U.S.C. §§ 371, 372, 1361, 1512(c)(2), 1752(a), and 40

U.S.C. § 5104(e)(2).

       50.        As such, I respectfully request that the Court permit the filing of this Amended

Complaint and consolidate these matters under a single case number.


                                               _______________________________________
                                               SPECIAL AGENT MICHAEL M. PALIAN JR.
                                               FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 19th day of January, 2021.


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                                               ___________________________________
                                               HON. ZIA M. FARUQUI
                                               U.S. MAGISTRATE JUDGE




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